

Matter of Tyeshan G. (Shantelle K.) (2024 NY Slip Op 06438)





Matter of Tyeshan G. (Shantelle K.)


2024 NY Slip Op 06438


Decided on December 20, 2024


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on December 20, 2024
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: LINDLEY, J.P., CURRAN, OGDEN, NOWAK, AND KEANE, JJ.


662 CAF 22-02019

[*1]IN THE MATTER OF TYESHAN G. ERIE COUNTY DEPARTMENT OF SOCIAL SERVICES, PETITIONER-RESPONDENT;
andSHANTELLE K., RESPONDENT-APPELLANT. (APPEAL NO. 2.)






CHARLES J. GREENBERG, AMHERST, FOR RESPONDENT-APPELLANT.
BENJAMIN E. MANNION, BUFFALO, FOR PETITIONER-RESPONDENT.
DAVID C. SCHOPP, THE LEGAL AID BUREAU OF BUFFALO, INC., BUFFALO (RUSSELL E. FOX OF COUNSEL), ATTORNEY FOR THE CHILD. 


	Appeal from an order of the Family Court, Erie County (Kelly A. Brinkworth, J.), dated November 3, 2022, in a proceeding pursuant to Family Court Act article 10. The order, inter alia, determined that respondent had neglected the subject child. 
It is hereby ORDERED that the order so appealed from is unanimously affirmed without costs.
Same memorandum as in Matter of Maverick V. (Shantelle K.) ([appeal No. 1] — AD3d — [Dec. 20, 2024] [4th Dept 2024]).
Entered: December 20, 2024
Ann Dillon Flynn
Clerk of the Court








